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     MELLINGER KARTZMAN LLC
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     Steven A. Jayson, Esq.
     Tel. (973) 267-0220                                                Order Filed on July 11, 2024
     sjayson@msklaw.net                                                 by Clerk
     Attorneys for Steven P. Kartzman,                                  U.S. Bankruptcy Court
                                                                        District of New Jersey
     Chapter 7 Trustee

                                                 UNITED STATES BANKRUPTCY COURT
      In re:                                     FOR THE DISTRICT OF NEW JERSEY

      FREIGHT CONNECTIONS INC.,                  Chapter 7     Hearing date July 11, 2024

                                    Debtor.      Case No. 23-21225 (RG)

                                                 The Honorable Rosemary Gambardella

         ORDER PURSUANT TO 11 U.S.C. § 105 ENFORCING ORDER COMPELLING
       COMPLIANCE WITH SUBPOENA IN A CASE UNDER THE BANKRUPTCY CODE
      AND FOR SANCTIONS PURSUANT TO FED. R. BANKR. P. 2004 AND 9016 AND FED. R.
          CIV. P. 45, AWARDING TRUSTEE ATTORNEY’S FEES AND COSTS, AND
                         SANCTIONING ABRAHAM EHRENREICH

               The relief set forth on the following pages numbered two (2) and three (3) is hereby

     ORDERED.




DATED: July 11, 2024
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Debtor:        Freight Connections Inc.
Case No.:      23-21225 (RG)
Caption:       Order Pursuant to 11 U.S.C. § 105 Enforcing Order Compelling Compliance with Subpoena in a
               Case Under the Bankruptcy Code and for Sanctions Pursuant to FED. R. BANKR. P. 2004 and 9016
               and FED. R. CIV. P. 45, Awarding Trustee Attorney’s Fees and Costs, and Sanctioning Abraham
               Ehrenreich


        This matter having been brought before the Court by Mellinger Kartzman LLC, attorneys

for Chapter 7 Trustee, Steven P. Kartzman (the “Trustee”), on Application for the entry of an

Order Pursuant to 11 U.S.C. § 105 Enforcing Order Compelling Compliance with Subpoena in a

Case Under the Bankruptcy Code and for Sanctions Pursuant to FED. R. BANKR. P. 2004 and

9016 and FED. R. CIV. P. 45, Awarding Trustee Attorney’s Fees and Costs, and Sanctioning

Abraham Ehrenreich (the “Application”); and good cause having been shown, it is hereby

        ORDERED AS FOLLOWS:

        1.     Abraham Ehrenreich shall comply with the terms of the Order Compelling

Compliance with Subpoena in Case Under the Bankruptcy Code and for Sanctions [Dkt. No.

174], within ten (10) days from the date of this Order.

        2.     Abraham Ehrenreich (“Ehrenreich”), having knowingly failed to comply with a

valid order of this Court, is found to be in civil contempt. Sanctions shall be imposed against

Abraham Ehrenreich as follows: (i) Abraham Ehrenreich shall pay to the Trustee the sum of

$100 per day until he produces all of the documents requested in Schedule A to the Subpoena;

and (ii) Abraham Ehrenreich shall pay the Trustee’s attorneys’ fees and costs incurred in

connection with obtaining this Order.

        3.     Within sixty (60) days from the date hereof, the attorneys for the Trustee may

submit to Abraham Ehrenreich a statement itemizing the fees and costs incurred in preparing,

serving and prosecuting the Motion. Ehrenreich shall remit payment to the Trustee for said fees

and costs within ninety (90) days from the date hereof.
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Debtor:        Freight Connections Inc.
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               and FED. R. CIV. P. 45, Awarding Trustee Attorney’s Fees and Costs, and Sanctioning Abraham
               Ehrenreich


        4.     The Sanction amounts set forth in Paragraph 3 of this Order shall be fixed by the

Court upon submission of an additional Application and Order upon Abraham Ehrenreich’s

compliance with the Subpoena and all prior Orders of the Court related to the civil contempt.

        5.     A copy of this Order shall be served on all parties hereto within five (5) days from

the date hereof.
